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                      UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                     :
                                              :
                 v.                           :       Criminal No. 22-MJ-208 (GMH)
                                              :
 REBECCA LAVRENZ,                             :
                                              :
         Defendant.                            :

                                           ORDER

       This matter is before the Court on the Parties’ Joint Motion to Continue Status Conference.

The Court having considered the motion, being fully advised, it is this 2nd of March, 2023:

       ORDERED, that the Joint Motion to Continue Status Conference is hereby GRANTED,

nunc pro tunc; and it is further,

       ORDERED, that the status hearing scheduled for February 28, 2023, is hereby continued to

1:00 p.m. on April 18, 2023, before Magistrate Judge Upadhyaya and it is further

        ORDERED, that the time between February 28, 2023, and April 18, 2023 shall be excluded

from calculation under the Speedy Trial Act. The Court finds that the ends of justice served by the

granting of such continuance outweigh the best interests of the public and the defendant in a

speedy trial, as the continuance will provide the parties with additional time to engage in pretrial

negotiations.
                                                                G. Michael    Digitally signed by G. Michael
                                                                              Harvey

                                                                Harvey        Date: 2023.03.02 09:23:12
                                                                  ________________________
                                                                              -05'00'

                                                                    G. Michael Harvey
                                                                    United States Magistrate Judge
